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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  AMERICAN SECURITIES
  ASSOCIATION,

                             PLAINTIFF,

        v.

  U.S. DEPARTMENT OF LABOR;
  MARTY WALSH, in his official                CIVIL ACTION NO. 8:22-cv-00330
  capacity as the Secretary of Labor,

                          DEFENDANTS.



                       MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 2.02 I, Daniel Shapiro, hereby move to withdraw as

 counsel because I am leaving my current firm to pursue a clerkship. I hereby

 certify that I have consulted with the Plaintiff who has consented to my immediate

 withdrawal.

                                                   Respectfully submitted,

                                                   /s/ Daniel Shapiro

                                                   Daniel Shapiro


                                                   Counsel for Plaintiff American
                                                   Securities Association
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                           CERTIFICATE OF SERVICE

       I certify that on June 10, 2022, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system, which sent e-mail notification of such

 filing to all CM/ECF participants.

                                                      /s/ Daniel Shapiro
                                                      Daniel Shapiro

                                                      Counsel for Plaintiff American
                                                      Securities Association




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